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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

 SHELDON SCOTT and JAMES TAYLOR, )
                                       )
                          Plaintiffs,  )
                                       )
         v.                            )           Civil Action No. 3:21-cv-00223-DRL-MGG
                                       )
 CITY OF SOUTH BEND, SCOTT A.          )
 RUSZKOWSKI, Individually and in his   )
 Official Capacity as Chief of Police, )
 TIMOTHY LANCASTER,                    )
 JASON BIGGS, KAYLA MILLER, and        )
 MERRICK GARLAND,                      )
 in his official capacity              )
 as the U.S. Attorney General,         )
                                       )
                          Defendants.  )

        SOUTH BEND DEFENDANTS’ INDEX OF EXHIBITS IN SUPPORT OF
                THEIR MOTION FOR SUMMARY JUDGMENT

       Pursuant to N.D. Ind. L.R. 5-4(a)(8), Defendants City of South Bend, Scott A. Ruszkowski,

Individually and in his Official Capacity as Chief of Police, Timothy Lancaster, Jason Biggs, and

Kayla Miller (collectively “South Bend Defendants”), by counsel, submit the following list of

exhibits and attached evidentiary materials in support of their Motion for Summary Judgment:

                Exhibit 1:      Excerpts from the Deposition of James Taylor, including
                                Deposition Exhibits C, D, E, F, G, H, I, J, K, L, M, N, O,
                                P, Q, R, and T;

                Exhibit 2:      Excerpts from the Deposition of Sheldon Scott, including
                                Deposition Exhibits C, D, F, G, and M;

                Exhibit 3:      Excerpts from the Deposition of Jason Biggs, including
                                Deposition Exhibits 1, 10, and 11;

                Exhibit 4:      Excerpts from the Deposition of Kayla Miller, including
                                Deposition Exhibit A;
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           Exhibit 5:    Excerpts from the Deposition of Scott Ruszkowski,
                         including Deposition Exhibit 2;

           Exhibit 6:    Excerpts from the Deposition of Kyle Lerch;

           Exhibit 7:    Excerpts from the Deposition of Timothy Lancaster;

           Exhibit 8:    Plaintiffs’ Amended Complaint;

           Exhibit 9:    Intervenors’ Complaint for Declaratory Judgment;

           Exhibit 10:   Affidavit of Kayla Miller; and

           Exhibit 11:   Affidavit of Scott Ruszkowski.



                                      Respectfully submitted,

                                      FAEGRE DRINKER BIDDLE & REATH LLP

                                      /s/ Angela N. Johnson
                                      Angela K. Hall (#26991-71)
                                      Angela N. Johnson (#32025-71)
                                      FAEGRE DRINKER BIDDLE & REATH LLP
                                      300 North Meridian Street, Suite 2500
                                      Indianapolis, IN 46204
                                      Telephone: (317) 237-0300
                                      Facsimile: (317) 237-1000
                                      Email: angela.hall@faegredrinker.com
                                               angela.johnson@faegredrinker.com

                                      Attorney for Defendants City of South Bend,
                                      Scott A. Ruszkowski, Individually and in his
                                      Official Capacity as Chief of Police, Timothy
                                      Lancaster, Jason Biggs, and Kayla Miller




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2023, a copy of the foregoing was filed electronically.

Service of this filing will be made on all ECF-registered counsel by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.

 Jeffrey S. McQuary                               J. Taylor Kirklin
 TOMPKINS LAW                                     Office of the United States Attorney
 608 E. Market St.                                10 West Market Street, Suite 2100
 Indianapolis, IN 46202                           Indianapolis, IN 46204-3048
 317-631-6866                                     317-226-6333
 317-685-2329 (fax)                               317-226-6125 (fax)
 jmcquary@tlawindy.com                            taylor.kirklin@usdoj.gov

 Daniel H. Pfeifer                                Attorney for Defendant Merrick Garland
 PFEIFER MORGAN & STESIAK                         Acting Under Authority Conferred by 28
 53600 N. Ironwood Drive                          U.S.C. § 515
 South Bend, IN 46635
 574-272-2870
 574-271-4329 (fax)
 dpfeifer@pilawyers.com

 Counsel for Plaintiffs

                                              /s/ Angela N. Johnson




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